          Case 1:23-cr-00070-CJN Document 24 Filed 06/29/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 23-cr-00070-CJN
                                             :
JESSE JAMES RUMSON,                          :
                                             :
                      Defendant.             :

    UNITED STATES’ NOTICE OF AUTHORITY REGARDING ECF Nos. 18 & 23

       The United States of America hereby respectfully files this Notice of Authority regarding

ECF Nos. 18 & 23, the two Motions to Appear Pro Hac Vice filed in this case by defense counsel

John Pierce on behalf of Roger Roots. Attached hereto as Exhibits A, B, and C are three decisions

that may bear on the Court’s consideration of the Motions, which include: (1) a June 19, 2023

Order by Judge Bates in United States v. Lesperance, Case No. 23-cr-00575 (JDB) (ECF No. 70),

addressing a pro hac vice application filed by Mr. Pierce on Mr. Roots’s behalf; (2) a related

June 29, 2023 Order by Judge Bates in United States v. Lesperance, Case No. 23-cr-00575 (JDB)

(ECF No. 77); and, (3) a November 20, 2000 decision by the Rhode Island Supreme Court

regarding Mr. Roots, In re Roots, 762 A.2d 1161, 1165 (R.I. 2000). 1

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052

                                     By:     /s/ Samantha R. Miller
                                             SAMANTHA R. MILLER

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  Consistent with that court’s opinion, Mr. Roots reapplied for admission to practice law in Rhode
Island and was admitted to practice law there on June 6, 2003. See Roots, Roger, Attorney Search,
Rhode                    Island                 Judiciary              (available               at
http://rijrs.courts.ri.gov/rijrs/searchAttorney.do?subactionId=3&attorneyNumber=255213) (last
accessed June 29, 2023).
Case 1:23-cr-00070-CJN Document 24 Filed 06/29/23 Page 2 of 2




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